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                      Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


 NATIONAL ASSOCIATION FOR GUN RIGHTS
 and TONI THERESA SPERA FLANIGAN,

                                 Plaintiffs,                 No. 3 :22-cv-0 1118-JBA

         V.                                                  Hon. Janet Bond Arterton

 NED LAMONT, in his official capacity as the
 Governor of the State of Connecticut,

 PATRICK J. GRIFFIN, in his official capacity as
 the Chief State's Attorney of the State of
 Connecticut, and

 SHARMESE L. WALCOTT, in her official capacity
 as the State' s Attorney, Hartford Judicial District,

                                Defendants.


              DECLARATION OF WILLIAM J. TAYLOR, JR. IN SUPPORT OF
                     MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to 28 U.S.C. § 1746, I, William J. Taylor, Jr. declare as follows:

        1.      I am over the age of eighteen ( 18) years and believe in the obligations of an oath.

       2.       I am an attorney duly admitted to practice in the State of New York (Bar No.

3958956) and am the Deputy Director of Second Amendment Litigation at Everytown Law, 450

Lexington Avenue, P.O. Box 4184, New York, NY 10017; telephone: (646) 324-8124; fax (917)

410-6932; email: wtaylor@everytown.org.

       3.       I am admitted to practice before and am a member in good standing of the following

courts (unless otherwise stated, no bar number provided): the U.S. District Court for the Southern

District of New York (Bar No. WT6920), the U.S . District Comi for the Northern District of

Florida, the U.S . District Court for the Western District of New York, the U.S . District Court for
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the Eastern District of New York (Bar No. WT6920), the U.S. District Court for the District of

Colorado, the U.S. Court of Appeals for the Ninth Circuit, the U.S. Court of Appeals for the

Seventh Circuit, the U.S. Court of Appeals for the Fourth Circuit, the U.S . Court of Appeals for

the Second Circuit, the U.S. Court of Appeals for the First Circuit (Bar No. 1186786), and the U.S.

Supreme Court.

        4.     I have no pending disciplinary complaints and have not been disciplined by,

resigned from, surrendered my license to practice before, or withdrawn an application for

admission to practice before this Court or any other comt.

        5.     I had an application for pro hac vice denied in the U.S. District Court for the

Southern District of California under the following circumstances. In January 2020, I and my co-

counsel, attorneys at the law firm Kramer, Levin, Naftalis & Frankel LLP, applied for pro hac vice

admission to the U.S. District Court for the Southern District of California in Jones v. Becerra,

No. 3: 19-cv-0 1226, for the purpose of moving for leave to file an amicus curiae brief on behalf of

Everytown for Gun Safety Support Fund. The district court denied the applications for failure to

designate local counsel with an office located within the district. We reapplied for pro hac vice

admission. The court then denied all motions for leave to file an amicus brief in the case, including

Everytown for Gun Safety Support Fund's motion, and in connection with that denial, denied our

pro hac vice applications, which the court also noted were incomplete. In light of the denial of

leave to participate as amicus curiae, we did not resubmit our pro hac vice applications. I have

continued to apply for and, without exception, gain admission to the bars of multiple federal courts.

       6.      I have fully reviewed and am familiar with the Federal Rules of Civil Procedure,

the Local Rules of the United States District Court for the District of Connecticut, and the

Connecticut Rules of Professional Conduct.




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       7.      I designate my sponsoring attorney, Damian K. Gunningsmith of Carmody

Torrance Sandak & Hennessey LLP, as my agent for service of process and the District of

Connecticut as the forum for the resolution of any dispute arising out of my admission.

       8.      I respectfully request that I be permitted to represent proposed amicus curiae

Everytown for Gun Safety Support Fund ("Everytown") in the above-captioned matter, along with

local counsel, Attorney Damian K. Gunningsmith.

       9.     Everytown has requested that I represent them in this action.

       I declare w1der penalty of perjury that the foregoing is true and correct.




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